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                            Exhibit 1
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Reg. No. 5,237,767           NBA Properties, Inc. (NEW YORK CORPORATION)
                             Olympic Tower - 645 Fifth Avenue
Registered Jul. 04, 2017     New York, NY 10022

                             CLASS 14: Jewelry; costume jewelry; beaded jewelry; rubber or silicon wristbands in the
Int. Cl.: 14                 nature of a bracelet, beaded necklaces; beads for use in the manufacture of jewelry; earrings,
                             necklaces, rings, bracelets, cuff links, pendants, charms for collar jewelry and bracelets;
Trademark                    clocks; watches; watch bands and watch straps, watch cases, watch fobs; jewelry boxes, tie
                             clips; medallions; non-monetary coins of precious metal; precious metals; key chains of
Principal Register           precious metal; key chains as jewelry; figures and figurines of precious metal; trophies of
                             precious metals

                             FIRST USE 6-00-1997; IN COMMERCE 6-00-1997

                             The mark consists of a basketball and hoop on a square base.

                             OWNER OF U.S. REG. NO. 3139918, 5157364, 3146338

                             SEC.2(F)

                             SER. NO. 86-841,222, FILED 12-07-2015
                             SHAUNIA P CARLYLE, EXAMINING ATTORNEY
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Reg. No. 5,087,429          MILWAUKEE BUCKS, LLC (WISCONSIN LIMITED LIABILITY COMPANY)
                            1001 NORTH 4TH STREET
Registered Nov. 22, 2016    MILWAUKEE, WI 53203

                            CLASS 25: Clothing, namely, hosiery, footwear, basketball shoes, basketball sneakers,
Int. Cl.: 25                slippers, T-shirts, shirts, polo shirts, sweatshirts, sweatpants, pants, tank tops, jerseys, shorts,
                            pajamas, sport shirts, rugby shirts, sweaters, belts, ties, nightshirts, hats, caps, visors, warm-
Trademark                   up suits, warm-up pants, warm-up tops/shooting shirts, jackets, wind resistant jackets, parkas,
                            coats, baby bibs not of paper, head bands, wrist bands, aprons, undergarments, boxer shorts,
Principal Register          slacks, ear muffs, gloves, mittens, scarves, woven and knit shirts, jersey dresses, dresses,
                            cheerleading dresses and uniforms, swim wear, bathing suits, swimsuits, bikinis, tankinis,
                            swim trunks, bathing trunks, board shorts, wet suits, beach cover-ups, bathing suit cover-ups,
                            bathing suit wraps, sandals, beach sandals, beach hats, sun visors, swim caps, bathing caps,
                            novelty headwear with attached wigs

                            FIRST USE 4-15-2015; IN COMMERCE 4-15-2015

                            The mark consists of a depiction of the front of a buck's head.

                            SER. NO. 86-592,800, FILED 04-09-2015
                            DAVID C I, EXAMINING ATTORNEY
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 5,120,178          LA CLIPPERS LLC (DELAWARE LIMITED LIABILITY COMPANY)
                            1111 SOUTH FIGUEROA STREET SUITE 1100
Registered Jan. 10, 2017    Los Angeles, CA 90015

                            CLASS 25: Clothing, namely, hosiery, footwear, basketball shoes, basketball sneakers,
Int. Cl.: 25                slippers, T-shirts, shirts, polo shirts, sweatshirts, sweatpants, pants, tank tops, jerseys, shorts,
                            pajamas, sport shirts, rugby shirts, sweaters, belts, ties, nightshirts, hats, caps, visors, warm-
Trademark                   up suits, warm-up pants, warm-up tops/shooting shirts, jackets, wind resistant jackets, parkas,
                            coats, baby bibs not of paper, head bands, wrist bands, aprons, undergarments, boxer shorts,
Principal Register          slacks, ear muffs, gloves, mittens, scarves, woven and knit shirts, jersey dresses, dresses,
                            cheerleading dresses and uniforms, swim wear, bathing suits, swimsuits, bikinis, tankinis,
                            swim trunks, bathing trunks, board shorts, wet suits, beach cover-ups, bathing suit cover-ups,
                            bathing suit wraps, sandals, beach sandals, beach hats, sun visors, swim caps, bathing caps,
                            novelty headwear with attached wigs

                            FIRST USE 6-18-2015; IN COMMERCE 6-18-2015

                            The mark consists of a design of a basketball with the stylized letters "LAC" positioned in the
                            center.

                            OWNER OF U.S. REG. NO. 4989940, 4989941, 5046582

                            SER. NO. 86-604,879, FILED 04-21-2015
                            ALLISON A HOLTZ, EXAMINING ATTORNEY
 Case: 1:22-cv-07107 Document #: 1-1 Filed: 12/16/22 Page 75 of 110 PageID #:111



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 5,414,453          Minnesota Timberwolves Basketball Limited Partnership (MINNESOTA LIMITED
                            PARTNERSHIP)
Registered Feb. 27, 2018    1725 Roe Crest Drive
                            North Mankato, MINNESOTA 56002
Int. Cl.: 25                CLASS 25: Clothing, namely, hosiery, footwear, basketball shoes, basketball sneakers, T-
                            shirts, shirts, polo shirts, sweatshirts, sweatpants, pants, tank tops, jerseys, shorts, pajamas,
Trademark                   sport shirts, rugby shirts, sweaters, belts, ties, nightshirts, hats, caps, visors, warm-up suits,
                            warm-up pants, warm-up tops, shooting shirts, jackets, wind resistant jackets, parkas, coats,
Principal Register          baby bibs not of paper, head bands, wrist bands, aprons, undergarments, boxer shorts, slacks,
                            ear muffs, gloves, mittens, scarves, woven and knit shirts, jersey dresses, dresses,
                            cheerleading dresses and uniforms, swim wear, bathing suits, swimsuits, bikinis, tankinis,
                            swim trunks, bathing trunks, board shorts, wet suits, beach cover-ups, bathing suit cover-ups,
                            bathing suit wraps, sandals, beach sandals, beach hats, sun visors, swim caps, bathing caps,
                            novelty headwear with attached wigs

                            FIRST USE 4-11-2017; IN COMMERCE 4-11-2017

                            The mark consists of a circular design containing the words "MINNESOTA
                            TIMBERWOLVES", and a wolf's head and star inside the depiction of a basketball.

                            OWNER OF U.S. REG. NO. 3830346, 2606918, 3830348, 3972310, 2648297, 2661674

                            SEC. 2(F) as to "MINNESOTA"

                            SER. NO. 87-405,345, FILED 04-10-2017
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 5,649,497          Philadelphia 76ers L.P. (DELAWARE LIMITED PARTNERSHIP)
                            3601 S. Broad Street
Registered Jan. 08, 2019    Philadelphia, PENNSYLVANIA 19148

                            CLASS 25: Clothing, namely, hosiery, footwear, basketball shoes, basketball sneakers, T-
Int. Cl.: 25                shirts, shirts, polo shirts, sweatshirts, sweatpants, pants, tank tops, jerseys, shorts, pajamas,
                            sport shirts, rugby shirts, sweaters, belts, ties, nightshirts, hats, caps, visors, warm-up suits,
Trademark                   warm-up pants, warm-up tops/shooting shirts, jackets, wind resistant jackets, parkas, coats,
                            baby bibs not of paper, head bands, wrist bands, aprons, undergarments, boxer shorts, slacks,
Principal Register          ear muffs, gloves, mittens, scarves, woven and knit shirts, jersey dresses, dresses,
                            cheerleading dresses and uniforms, swim wear, bathing suits, swimsuits, bikinis, tankinis,
                            swim trunks, bathing trunks, board shorts, wet suits, beach cover-ups, bathing suit cover-ups,
                            bathing suit wraps, sandals, beach sandals, beach hats, sun visors, swim caps, bathing caps,
                            novelty headwear with attached wigs

                            FIRST USE 7-00-2009; IN COMMERCE 7-00-2009

                            The mark consists of the stylized numeral "76" with a series of five pointed stars arranged in
                            a circle and positioned above the number "7".

                            SER. NO. 86-622,728, FILED 05-07-2015
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
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date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
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ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 5,413,489          Sacramento Kings Limited Partnership, LP (CALIFORNIA LIMITED PARTNERSHIP)
                            1 Sports Parkway
Registered Feb. 27, 2018    Sacramento, CALIFORNIA 95834

                            CLASS 25: Clothing, namely, hosiery, footwear, basketball shoes, basketball sneakers, T-
Int. Cl.: 25                shirts, shirts, polo shirts, sweatshirts, sweatpants, pants, tank tops, jerseys, shorts, pajamas,
                            sport shirts, rugby shirts, sweaters, belts, ties, nightshirts, hats, caps, visors, warm-up suits,
Trademark                   warm-up pants, warm-up tops/shooting shirts, jackets, wind resistant jackets, parkas, coats,
                            baby bibs not of paper, head bands, wrist bands, aprons, undergarments, boxer shorts, slacks,
Principal Register          ear muffs, gloves, mittens, scarves, woven and knit shirts, jersey dresses, dresses,
                            cheerleading dresses and uniforms, swim wear, bathing suits, swimsuits, bikinis, tankinis,
                            swim trunks, bathing trunks, board shorts, wet suits, beach cover-ups, bathing suit cover-ups,
                            bathing suit wraps, sandals, beach sandals, beach hats, sun visors, swim caps, bathing caps,
                            novelty headwear with attached wigs

                            FIRST USE 4-26-2016; IN COMMERCE 4-26-2016

                            The mark consists of "SACRAMENTO KINGS" with crown and ball design.

                            OWNER OF U.S. REG. NO. 1898173, 3097485, 2004672

                            SEC. 2(F) as to "SACRAMENTO"

                            SER. NO. 87-010,748, FILED 04-22-2016
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     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

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Reg. No. 5,277,152          NBA Properties, Inc. (NEW YORK CORPORATION)
                            Olympic Tower
Registered Aug. 29, 2017    645 Fifth Avenue
                            New York, NY 10022
Int. Cl.: 25                CLASS 25: Clothing, namely, hosiery, footwear, basketball shoes, basketball sneakers,
                            slippers, T-shirts, shirts, polo shirts, sweatshirts, sweatpants, pants, tank tops, jerseys, shorts,
Trademark                   pajamas, sport shirts, rugby shirts, sweaters, belts, ties, nightshirts, hats, caps, visors, warm-
                            up suits, warm-up pants, warm-up tops being shooting shirts, jackets, wind resistant jackets,
Principal Register          parkas, coats, baby bibs not of paper, head bands, wrist bands, aprons, undergarments, boxer
                            shorts, slacks, ear muffs, gloves, mittens, scarves, woven and knit shirts, jersey dresses,
                            dresses, cheerleading dresses and uniforms, swim wear, bathing suits, swimsuits, bikinis,
                            tankinis, swim trunks, bathing trunks, board shorts, wet suits, beach cover-ups, bathing suit
                            cover-ups, bathing suit wraps, sandals, beach sandals, beach hats, sun visors, swim caps,
                            bathing caps, novelty headwear with attached wigs

                            FIRST USE 6-1-2004; IN COMMERCE 6-1-2004

                            The mark consists of a square base supporting a basketball hoop topped by a basketball.

                            OWNER OF U.S. REG. NO. 3139918, 3199387, 3146338

                            SEC.2(F)

                            SER. NO. 86-841,256, FILED 12-07-2015
                            SHAUNIA P CARLYLE, EXAMINING ATTORNEY
Case: 1:22-cv-07107 Document #: 1-1 Filed: 12/16/22 Page 110 of 110 PageID #:146



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